Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 1 of 7. PageID #: 355




          EXHIBIT A
              Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 2 of 7. PageID #: 356


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                         v.                                               )       Civil Action No. 1:19-op-45350-DAP
       AmerisourceBergen Drug Corporation et al                           )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date: 5/7/2020
                                                                                        Signature of the attorney or unrepresented party

 Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.                                                        Mr. Evan Jacobs
      Printed name of party waiving service of summons                                                     Printed name
                                                                                              Morgan, Lewis & Bockius LLP
                                                                                                  1701 Market Street
                                                                                                Philadelphia, PA 19103
                                                                                                              Address
                                                                                             evan.jacobs@morganlewis.com
                                                                                                          E-mail address
                                                                                                        (215) 963-5329
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
              Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 3 of 7. PageID #: 357


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

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                (Name of the plaintiff’s attorney or unrepresented plaintiff)

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Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:      5/7/2020
                                                                                        Signature of the attorney or unrepresented party
                       Cephalon, Inc.                                                                  Mr. Evan Jacobs
      Printed name of party waiving service of summons                                                     Printed name
                                                                                              Morgan, Lewis & Bockius LLP
                                                                                                  1701 Market Street
                                                                                               Philadelphia, PA 19103
                                                                                                              Address
                                                                                             evan.jacobs@morganlewis.com
                                                                                                          E-mail address
                                                                                                        (215) 963-5329
                                                                                                        Telephone number


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              Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 4 of 7. PageID #: 358


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

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           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
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Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:
                                                                                        Signature of the attorney or unrepresented party
 CVS Health Corporation individually and d/b/a                                                            Jason Acton
            CVS Pharmacy Inc.
      Printed name of party waiving service of summons                                                     Printed name
                                                                                                Zuckerman Spaeder LLP
                                                                                             1800 M Street N.W., Suite 1000
                                                                                                Washington, DC 20036
                                                                                                              Address
                                                                                                  jacton@zuckerman.com
                                                                                                          E-mail address
                                                                                                        (202) 778-1860
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
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summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
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              Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 5 of 7. PageID #: 359

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              Case: 1:19-op-45350-DAP Doc #: 9-1 Filed: 11/18/20 6 of 7. PageID #: 360


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

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To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

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Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:      5/7/2020
                                                                                        Signature of the attorney or unrepresented party
           Teva Pharmaceuticals USA, Inc.                                                              Mr. Evan Jacobs
      Printed name of party waiving service of summons                                                     Printed name
                                                                                              Morgan, Lewis & Bockius LLP
                                                                                                  1701 Market Street
                                                                                               Philadelphia, PA 19103
                                                                                                              Address
                                                                                             evan.jacobs@morganlewis.com
                                                                                                          E-mail address
                                                                                                        (215) 963-5329
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
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AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
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                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
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motion under Rule 12 will not be grounds for a default judgment.


Date:      5/7/2020
                                                                                        Signature of the attorney or unrepresented party
               Watson Laboratories, Inc.                                                               Mr. Evan Jacobs
      Printed name of party waiving service of summons                                                     Printed name
                                                                                              Morgan, Lewis & Bockius LLP
                                                                                                  1701 Market Street
                                                                                               Philadelphia, PA 19103
                                                                                                              Address
                                                                                             evan.jacobs@morganlewis.com
                                                                                                          E-mail address
                                                                                                        (215) 963-5329
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
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